Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 1 of 106




                     EXHIBIT E
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 2 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 3 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 4 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 5 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 6 of 106

                               RICHARD SZABO
                                                                          5
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 7 of 106

                               RICHARD SZABO
                                                                          6
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 8 of 106

                               RICHARD SZABO
                                                                          7
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 9 of 106

                               RICHARD SZABO
                                                                          8
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 10 of 106

                                RICHARD SZABO
                                                                           9
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 11 of 106

                                RICHARD SZABO
                                                                           10
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 12 of 106

                                RICHARD SZABO
                                                                           11
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 13 of 106

                                RICHARD SZABO
                                                                           12
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 14 of 106

                                RICHARD SZABO
                                                                           13
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 15 of 106

                                RICHARD SZABO
                                                                           14
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 16 of 106

                                RICHARD SZABO
                                                                           15
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 17 of 106

                                RICHARD SZABO
                                                                           16
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 18 of 106

                                RICHARD SZABO
                                                                           17
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 19 of 106

                                RICHARD SZABO
                                                                           18
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 20 of 106

                                RICHARD SZABO
                                                                           19
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 21 of 106

                                RICHARD SZABO
                                                                           20
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 22 of 106

                                RICHARD SZABO
                                                                           21
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 23 of 106

                                RICHARD SZABO
                                                                           22
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 24 of 106

                                RICHARD SZABO
                                                                           23
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 25 of 106

                                RICHARD SZABO
                                                                           24
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 26 of 106

                                RICHARD SZABO
                                                                           25
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 27 of 106

                                RICHARD SZABO
                                                                           26
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 28 of 106

                                RICHARD SZABO
                                                                           27
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 29 of 106

                                RICHARD SZABO
                                                                           28
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 30 of 106

                                RICHARD SZABO
                                                                           29
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 31 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 32 of 106

                                RICHARD SZABO
                                                                           31
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 33 of 106

                                RICHARD SZABO
                                                                           32
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 34 of 106

                                RICHARD SZABO
                                                                           33
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 35 of 106

                                RICHARD SZABO
                                                                           34
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 36 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 37 of 106

                                RICHARD SZABO
                                                                           36
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 38 of 106

                                RICHARD SZABO
                                                                           37
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 39 of 106

                                RICHARD SZABO
                                                                           38
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 40 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 41 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 42 of 106

                                RICHARD SZABO
                                                                           41
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 43 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 44 of 106

                                RICHARD SZABO
                                                                           43
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 45 of 106

                                RICHARD SZABO
                                                                           44
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 46 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 47 of 106

                                RICHARD SZABO
                                                                           46
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 48 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 49 of 106

                                RICHARD SZABO
                                                                           48
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 50 of 106

                                RICHARD SZABO
                                                                           49
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 51 of 106

                                RICHARD SZABO
                                                                           50




                                                              they are

     both extremely interested in our calibration services

     and I have verbally requested quotes.
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 52 of 106

                                RICHARD SZABO
                                                                           51
             They are both extremely interested in our

     calibration services and have verbally requested

     quotes,
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 53 of 106

                                RICHARD SZABO
                                                                           52
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 54 of 106

                                RICHARD SZABO
                                                                           53
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 55 of 106

                                RICHARD SZABO
                                                                           54
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 56 of 106

                                RICHARD SZABO
                                                                           55
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 57 of 106

                                RICHARD SZABO
                                                                           56
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 58 of 106

                                RICHARD SZABO
                                                                           57
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 59 of 106

                                RICHARD SZABO
                                                                           58
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 60 of 106

                                RICHARD SZABO
                                                                           59
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 61 of 106

                                RICHARD SZABO
                                                                           60
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 62 of 106

                                RICHARD SZABO
                                                                           61
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 63 of 106

                                RICHARD SZABO
                                                                           62
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 64 of 106

                                RICHARD SZABO
                                                                           63
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 65 of 106

                                RICHARD SZABO
                                                                           64
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 66 of 106

                                RICHARD SZABO
                                                                           65
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 67 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 68 of 106

                                RICHARD SZABO
                                                                           67
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 69 of 106

                                RICHARD SZABO
                                                                           68
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 70 of 106

                                RICHARD SZABO
                                                                           69
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 71 of 106

                                RICHARD SZABO
                                                                           70
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 72 of 106

                                RICHARD SZABO
                                                                           71
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 73 of 106

                                RICHARD SZABO
                                                                           72
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 74 of 106

                                RICHARD SZABO
                                                                           73
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 75 of 106

                                RICHARD SZABO
                                                                           74
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 76 of 106

                                RICHARD SZABO
                                                                           75
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 77 of 106

                                RICHARD SZABO
                                                                           76
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 78 of 106

                                RICHARD SZABO
                                                                           77
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 79 of 106

                                RICHARD SZABO
                                                                           78




                                    Plaintiff Ric Szabo worked

     approximately 87 hours and 45 minutes, but was not

     compensated for all hours worked for over 40 hours or

     at 1.5 times his regular rate of pay for all hours

     worked over 40 hours,
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 80 of 106

                                RICHARD SZABO
                                                                           79
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 81 of 106

                                RICHARD SZABO
                                                                           80
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 82 of 106

                                RICHARD SZABO
                                                                           81
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 83 of 106

                                RICHARD SZABO
                                                                           82




                         Throughout their employment,

     Plaintiffs performed their jobs well, receiving

     positive feedback and no justifiable discipline,
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 84 of 106
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 85 of 106

                                RICHARD SZABO
                                                                           84
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 86 of 106

                                RICHARD SZABO
                                                                           85
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 87 of 106

                                RICHARD SZABO
                                                                           86
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 88 of 106

                                RICHARD SZABO
                                                                           87
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 89 of 106

                                RICHARD SZABO
                                                                           88
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 90 of 106

                                RICHARD SZABO
                                                                           89
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 91 of 106

                                RICHARD SZABO
                                                                           90
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 92 of 106

                                RICHARD SZABO
                                                                           91
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 93 of 106

                                RICHARD SZABO
                                                                           92
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 94 of 106

                                RICHARD SZABO
                                                                           93
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 95 of 106

                                RICHARD SZABO
                                                                           94
Case 4:21-cv-00468-MWB   Document 35-6   Filed 09/30/22   Page 96 of 106

                                RICHARD SZABO
                                                                           95




                                   Heather Goss Boring
      Case 4:21-cv-00468-MWB        Document 35-6       Filed 09/30/22      Page 97 of 106

                                        RICHARD SZABO
                                                                                             1
           $                        2          48
                                               49                        actively
                                               4:00
$15,000               2                                                  actual
                                                            5            adapted
$1500                 2-Page                                             added
$2,000                20                                                 addition
                      2000                     5
                                                                         additional
$200                  2016                     50
                                                                         address
$2000                 2018                     570
$400                                           5:00                      adjusting
$45,000                                        5:30                      administer
                                                                         admit
$47,000               2019                                  6            advantage
$50,000                                                                  advertisement
$500                  2020                                               advised
                                               6
$800                  2021                                               afterwards
                      2022                                               agencies
                                               60
           '          2023
                                               62                        agency
                      20th                                               ago
                                               6:00
                      21                                                 agree
'18
                      21-CV-00468
                      22                                    7
           1          22nd
                      23rd                     74
1                     259                      77                        agreed
                      261                      78                        Agreement
1-page                267                      79
                      273-1054                                           agreement
1.5                   28                                    8            ahead
100
1060904                             3          80
                                                                         airline
10:00                                                                    airport
                                               814
117                                                                      Alex
                      3                        85
118                                                                      allowed
                      30                       87
12
                      300
120
                      31st                     89
121                                                                      almost
                      326-1077                 892.20
122                                                                      altogether
                      35
131                                                                      America
15
                      364-1793                              9
                      3:30
15,000                                                                   amount
                      3:50
1521                                           990.97
153                                                                      AND
                                    4                                    angry
15th                                                        A
1628                                                                     annual
16828                 4                                                  answer
                                               A.M
16th
                                               ability
17                    40
                                               able
17701                                          absolutely
18                    40-hour
18th                  400
                                               access
19,000                42
                                               accredited                answered
19103                 425
1st                   425.97                                             answering
                                               accurate                  answers
                      45
                                               accurately
                                               Act                       anytime
                      47
                                               action                    Apartment
   Case 4:21-cv-00468-MWB           Document 35-6       Filed 09/30/22      Page 98 of 106

                                     RICHARD SZABO
                                                                                             2
apartment          Bates                                                 certainly
                                                                         certification
Apartments
apologize          bed                                                   certified
                   BEFORE
                   begin                                                 certify
                   beginning
appear             BEHALF                                                change
                   behalf                                                changed
APPEARING          behind                                                changes
applies            best                                     C            Chant
appreciate         better
approaches         between
                                             C-R-O-Y
approaching
                                             calculated
approval
                                             calibrate
approved           bigger
April              Bishop                                                chant
                                             calibrated
                   bit
                                             calibrating
area               biweekly                                              characterize
argue              bonus                                                 charged
                                             calibration
arrive                                                                   CHARLES
assignment                                                               chart
assignments                                                              charting
                                                                         check
assistance         bonuses                                               checking
assistant                                                                child
associated                                   calibrations                chip
assume             Boring
assumed            BORING                                                chips
attempted                                                                chocolate
attention          boringreporting@gmail.
attitude            com                      campaign                    choice
attorney           bought
                   Boulevard                 cannot                      choose
                   boy                       capabilities                claim
Attorney           brand                     car                         claims
                   brand-new                                             clarification
August             break
                                             card
authentic          breaking
authorities                                                              clarify
authority          bring                     cards                       classified
                   broke                     care                        clean
                                             cars
authorized         brother                   case                        clear
avoid              brother-in-law
aware              buckle                                                clearly
                   bullshit                                              client's
                   Bunting                   cases                       clients
              B                              catch                       clock
                                             category
                                             causes                      clocking
background         BUNTING                                               close
                                             cell
bad                burden
bake               business                                              closed
based                                                                    closer
                   butt                      Center                      cloudy
basing             buying                                                CO
                                             CENTRE
Bate               BY                                                    coming
                                             certain
   Case 4:21-cv-00468-MWB      Document 35-6          Filed 09/30/22      Page 99 of 106

                                    RICHARD SZABO
                                                                                               3
comment                                                                deposition

Commission                                 CROY
COMMONWEALTH                               CSR                         Deposition
Commonwealth                               curious                     depositions
                                           current                     described
communicated                               customer                    describing
communications                                                         deserve
                                           customer's                  designs
Company                                                                despite
                                           customers                   diary
company                                                                difference
                                                                       different

                   correctly                                           differently
                                                                       dig
compensated                                                            directed
compensation                                                           direction
competitor                                                             directions
competitors        correspondence
                                                                       directly
Complaint          cost
                                                                       disagree
                   costs                                D
                   counsel
complaint
                   count                   d/b/a
completed
                   COUNTY                  danger
completely                                                             discipline
                   couple                  DATE
completeness
                                           date
compound                                                               disciplined
                                           dates
computer                                                               disclose
                   course                  days
concerns                                                               discovery
concluded          COURT
                   court                   deal
confirm                                                                discretion
                                           debate
confirmation                                                           discuss
                                           December
consider                                                               discussed
                   Court                   deception
consumer
                                           decide
contained                                                              Discussion
                                           decided
contemplating                                                          Discussion held off record
                   cover                   decides
contention
                   covered                 decision
continue
control                                                                dishonesty
                   CRAPPELL                dedicated
conversation                                                           DISTRICT
                   Crappell                deep
                                                                       document
                                           DEFENDANT
conversations
                                           DEFENDANTS
                                           definitely
                                           definition
convicted
cookie                                                                 documentation
                   create                  definitions
cookies
                   created                 degree
                                           Delahoussaye
cool                                                                   documentations
copy
                   credit
Core                                                                   documents
                                           delegate
correct
                   crime                   delegation
                   crimen                  deleted
                   Croy                                                dollars
                                           demand                      done
                                           depos
                                           DEPOSITION
  Case 4:21-cv-00468-MWB        Document 35-6        Filed 09/30/22     Page 100 of 106

                                 RICHARD SZABO
                                                                                        4
                                                                      finishing
                                                                      fire
dough                                     expires                     firing
down                                      explain                     Firm
                  Employment                                          firm
drafted           encourage               explanation                 first
driving           encouraging             extra
drop
dropping          end                     extremely
drove                                     eyes                        five
duly              ended
during            engineer                              F
                  Engineering

                                          facility
                  engineers               fact                        fix
duty
dynamic           entire                                              flexible
                  entirety                                            follow
                                          factory
             E    entitled
                                          Fair
                  equals                                              follow-ups
                                          fair                        follows
                  error
e-mail                                                                food
                  especially
                                          falsi
                  ESQUIRE                                             FOR
                                          familiar
                  essence                                             foregoing
                  establish                                           form
                                          far
                  establishes
                                          faster
                  evidence                                            former
                                          favor
                  evidentiary
e-mailed                                  favors
                  exactly                                             formula
e-mails                                   fear
                  exam                                                forward
                                          February                    four
                                          federal                     FOURTH
E4
                                                                      Fourth
effect
                  EXAMINATION                                         frame
effective
                                                                      freezes
effort                                    feedback
                  examination                                         Friday
Eight                                     Fetter
                  example
eight
                  except
                  exchange
                  excuse                                              front
either
                  exercise                                            frozen
                  exercised
electronically
                  exhibit                                             frustrating
Emberwood                                 Fetter's
                                                                      fully
                                          few
                  Exhibit                                             FURTHER
employed                                  field
                                                                      future
                                          figure
Employee                                  file
employee                                                                            G
                                          filed
                  EXHIBITS                                            gears
                  expect                                              gentlemen
employees                                 filing                      Georgia
                  expected
                                          finally                     given
                  expense
employer                                  fine
                  Expense
employer's                                finish                      goal
employers                                                             Golf
                  expenses
employment                                finished                    golf
  Case 4:21-cv-00468-MWB            Document 35-6          Filed 09/30/22     Page 101 of 106

                                        RICHARD SZABO
                                                                                              5
Google                help                                                  itself
                                               increases
gosh                                           indicate                                   J
Goss                  helped                   indicated
GOSS                  helpful                  indicates
                                                                            January
                      helping                  indications
government                                     individual
                                                                            Jason
                      hereby                   individuals
grateful              hereunto
Greg                  herself
                                               Industries
                      himself
                      hire
                                                                            job
                      hired
GREGORY
Group                 hiring
GROUP                 history
Group's               HOLA
gstapp@stapplaw.net   Home
                      home
                                                                            jobs
guess
                      honest
                                                                            John
                      honor
                                                                            join
guessed               honored
                                                                            judge
guy
                                                                            judgment
guys                  hope
                      hot
                                                                            July
                      hotel
                                               INDUSTRIES
              H       hour                                                  JUNE
                                               Industries'
                                                                            jury
HALL                                           Industry                     justifiable
                      hourly
hand                                           information
handbook
                      hours
                                                                                          K
                                               initial
hands                                          initiated                    keep
                                               instance
                                               instances                    keeping
hands-on                                       instead
                                               Institute                    keeps
                      hundred                  intend                       Kennedy
handwriting                                    intention
                      hurt                                                  kept
                      hyphen                   interested                   key
handwritten                                    interrogatories              kid
Hang                                           interrupt
hang
                                    I                                       kids
                                               interrupting                 Kimberly
hard                                           interruptions
Haul                  idea                     interview                    kind
                                               intuition
heads                 ill                      involved
hear                  important                involving
                      improperly               irrelevant
heard                 inaudible                ISO                          kinds
hearing               INC                      issue                        kitchen
HEATHER               include                  issued                       knowledge
                      including                issues                       KRAMER
Heather               inclusive                items
heavy                 incorrectly
held                  increase                 itinerary
   Case 4:21-cv-00468-MWB      Document 35-6        Filed 09/30/22     Page 102 of 106

                                   RICHARD SZABO
                                                                                     6
                   live                   Maps                       moment
                   lives                  March                      Monday
                   living
                   LLC                    mark
                   loan
                   local
Kramer             locate                 MARKED                     money
                   located                marked
                   location                                          month
             L     logic
                   look
                                          Mary                       months
labor
                   looked
Labor
                                          MARY                       morning
laboratory
                   looking                matter                     most
Lafayette
                                          mean                       mother
landline
                   looks
language
                                                                     motivation
laptop
                                                                     move

                                                                     move-in
last
                                                                     moved
                   loop                   meaning                    moving
LAW                                       means
                   lose
law
                   lost
                   Louisiana              meant
                                          Megan
Law
                   lunch                                             Moving
lawsuit
                                                                     multiple

                                                                     MUNCY
lawyer                                    members                    Muncy
lay                                       memoranda
leader                         M
                                          memory
leading                                   mention
lean               Machine                mentioned
learn              machine
learned            MACHINE                message
learning           machines               messages
                   mad                    messed
least              MADE                   met
                   magazine               mic
leave              mail                   Michigan
                                          MIDDLE
leaving
                                          mind
                                          minutes

left
                                          miscategorized
                                          mischaracterized
                   Mailchimp
                                          mislabeled
less
                                          misremembering
Letter             mailed
                                          miss
letter             mails
                                          Miss
level
                                          missed
Lifting
                                          misunderstood
                   main
lines              man
                                          mkramer@
Lisonring
                                           phillyemploymentlaw.
literally          manager
                                           com
litigation         manner                                            Muncy's
                                          mom
  Case 4:21-cv-00468-MWB          Document 35-6        Filed 09/30/22     Page 103 of 106

                                      RICHARD SZABO
                                                                                        7
MUNCY-000076                      O                       P
MUNCY-000079
MUNCY-000131
MUNCY-001117       o'clock                   p.m                        per
MUNCY-118          oaths                     PA                         percent
MUNCY-121          object                    page
Murphy             objection                                            perform
                   objections                Page
MURPHY             obtain                    Pages                      performed
mutual             occasional                                           performing
                   occasionally              pages                      period
                   occasions                 PAGES                      person
               N
                   occurred                  paid
                   OF
name                                                                    person's
                   Offer                                                personal
                   offer                                                personally
named              offering                                             perspective
National           office
nature                                                                  Phil
need               official
                   older                                                Philadelphia
                   ON                                                   Philip
                   once
needed                                                                  phone
                   one                       pan
needs                                        paragraph
negligent
never                                        Paragraph
                                                                        phones
                                             Paragraphs                 phonetic
new                                          paralegal                  pickup
                                             parse                      picture
next                                         part
                                                                        piled
nine                                                                    PLACE
NIST                                                                    place
NO                                           partaking                  Plaintiff
none                                         partial                    PLAINTIFFS
north                                        particular                 Plaintiffs
Notary                                       parties                    plan
                   ones                      parts                      plans
NOTARY             online                    pass                       plant
note               open                      past                       plenty
                   order                                                point
                   organization              pay
notepad            otherwise
notes              outside
                                                                        policy
nothing            oven                                                 position
                   overheated                paying
                                                                        positive
notification       overtime                  payment
                                                                        possession
number
                                             payments
                                                                        possible
Number             owed                      Penn
                                             PENNSYLVANIA
                                                                        possibly
                   owes                                                 potential
                   own                       Pennsylvania
                                                                        prepare
numerous
                                                                        prepared
                                             people
                                                                        pretty
  Case 4:21-cv-00468-MWB         Document 35-6         Filed 09/30/22     Page 104 of 106

                                     RICHARD SZABO
                                                                                             8
                  quickly                   recruit                     returning
                                            reduced                     review
previous          quiet                     refer
                  quit                      referring
previously                                  reflect                     reviewed
Pria              quite                     regard
pria              quitting                  regarding                   reviewing
primary           quote                     regardless                  Reviewing
privacy                                                                 revisit
private           quotes                    registered                  Ric
proceeded                                   regular
proceedings                                 reimburse
process                          R          reimbursement               RIC
                                                                        ric@muncyindustries.com
produce                                     related
                  raise
PRODUCED                                                                RICHARD
produced
                  raises
production                                  relation                    risk
                  rate
program                                     relevant                    road
                  rather
                                                                        Roberts
                  rckid1973@gmail.com
promissory
pronounce                                   remember                    room
                  re
proof                                                                   routine
                  reach
proper                                                                  Roy
                  reached
properly                                                                rules
prorated
                  reaching
protection
                  read
                                                                                       S
prove                                       removed
                  reading                   rent
provide
                                            repeat                      salaried
                  reads
provided
                  ready                     repeated                    salaries
                  really                    rephrase                    salary
providing
PUBLIC
Public                                      Report
                  reason

pull                                        reporter
                                                                        sales
punched
                  receipt                                               satisfaction
purchase
                                                                        Saturday
                  Receipts                  Reporter
purchases
                                            REPORTING                   Savannah
purchasing
                  receive                   request
purpose
                  received                                              save
purposes
                                            REQUEST                     saved
pursue
                  receiving                 Request                     scenario
push
                  Recess                                                schedule
put
                                            requested                   scheduling
                  recite                                                Scion
                  recognize                 require                     SCION
putting
                                            resend                      screen
                                            reservation
              Q   recollection
                                            reserved
                  record                                                scroll
                                            respective
questions                                   response                    scrolling)
                                            responsibilities            sealing
                                            responsible                 second
                  RECORD
                                            restate
                  records
                                            result
quick                                                                   see
                                            return
  Case 4:21-cv-00468-MWB          Document 35-6        Filed 09/30/22     Page 105 of 106

                                   RICHARD SZABO
                                                                                          9
                  sites                     start                       supervision
                  situation                 started

send              six                       starting                    supervisor
                  slate                     starts
sending           solicit                   state
                  solicitations
sense             someone                                               supervisory
sent                                        Statement
                                            statement                   sworn
                                                                        SZABO
                  sometimes
separate                                                                Szabo
                                            STATES
served                                      stay
services          somewhere                 stayed
                                            stenographer
several           soon                      stenographically
                  sorry                     step                        Szabo's
SHANDI                                      stepped
Shandi                                                                                T
                                            stick
                                            stickler
                                                                        tackled
                  sort                      still
                                                                        tackling
                  sound
shape                                                                   TAKEN
                                            stipulated
Share                                                                   talks
                  sounds                    STIPULATION
                                                                        task
                  specific                  stood
sharing           specifically              stop
Sharing                                                                 tasks
                  speech                    straight
sheets                                                                  taught
                  spell                     STREET
shift             spelling                  Street
                                                                        tax
short             split                     structure
                                                                        teach
shortly           ss                        structures
show              staff                     stub
                  stamp                     stubs                       teacher
                                            stuff                       teaching
                  Stamped
showed            stamped
showing           Standards                 submitted                   team
                                            subscribed                  teammates
shows             Stapp
                                                                        technician
shrug                                       successfully
sic               STAPP                     sue                         technicians
sick                                        suggest
side                                        suggested                   technique
sides                                       SUITE                       techniques
sign                                        Suite                       ten
signature                                   Sunday
                                                                        test
Signed
signing
simple                                      supervise
                                                                        testified
simply                                      supervises
single                                      supervising
sister
                                                                        TESTIMONY
site
                                                                        testimony
  Case 4:21-cv-00468-MWB           Document 35-6         Filed 09/30/22     Page 106 of 106

                                    RICHARD SZABO
                                                                                           10
                  traveled                                                WEST
                                                                          West
Testing                                                                   whatsoever
text              traveling                  upcoming                     whereas
THE                                          ups                          whereof
                  trial                                                   whole
                  tried                                     V
                                                                          William
theft
                                             vacation
theirs            trip
                                             vary
thinking
                  trips                      Vehicle
three                                                                     Williamsport
                                                                          WILLIAMSPORT
                  truck                      vehicle
Throughout                                                                wiped
throughout        true                                                    wish
                                             verbal
ticket                                                                    witness
Timeline          try                                                     WITNESS
                                             verbally
timeline
                                             verify
tires
                  trying                     versus
titled                                                                    witnesses
                                             VIA
today                                                                     wonder
                                             via
                                                                          word
                  turn                       video
                                                                          works
                  turned                     violation
today's                                                                   worry
                  twist                      voicemail
together                                                                  write
                  two                        VS
                                                                          write-up
tonight                                                                   writing
took                                                       W              written

                                             W-2s
Tool              Two                                                     wrote
                                             wage
TOOL              type
                                             wages
top                                                                                    Y
total             typewriting
                                             wait
totally           Typewritten
touch             typing                                                  yadda
                                             waived
towards                                                                   year
                                             wants
town                            U            Warning
                                                                          years
Toyota
                                                                          yelled
track                                        watched
                  U-Haul                                                  yourself
train                                        watching
trained
                  Undated
                  under                      ways
trainer                                      week
                                                                                       Z
                  understood
training
                  unintelligible                                          zero
                                                                          Zoom
                  UNITED
trains                                       weekend                      ZOOM
                  unless
transcript
                  unpaid
travel                                       weekends
                  up

                                             weekly
                                             weeks
                                             weigh
                                             weight
                                             Welcome
